Case 1:14-cv-02788-ENV-CLP Document 64 Filed 02/27/17 Page 1 of 2 PageID #: 704



LTNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                    x

ASHLEY PAINSON and DIEGO MERCADO,
                                                                        STIPULATION ANI)
                                                      Plaintiffs,       ORDER OX'DISMISSAL

                             -against-                                  14   cv   2788 (ENV) (MDG)

THE CITY OF NEW YORK, et al.,

                                                   Defendants.

                                                      -----------x


                WHEREAS, the parties have reached a settlement agreement and now desire to

resolve the remaining issues raised in this litigation, without further proceedings and without

admitting any fault or liability;

                NO\il, THEREFORE, IT IS HEREBY STIPULATED AND AGREED,                            bY

and between the undersigned, that

        1.      The above-referenced action is hereby dismissed with prejudice; and




                      [RnnaenonRoF P¡,cn InrnxrtoxAr.r.y       Lnrr BleNxl
Case 1:14-cv-02788-ENV-CLP Document 64 Filed 02/27/17 Page 2 of 2 PageID #: 705



         2.         Notwithstanding the dismissal of this action in accordance with this agreement,

the District Court shall continue to maintain jurisdiction over this action for the purpose of

enforcing the terms of the settlement agreement reached between the parties and set forttr in the

Stipulation of Settlement executed by the parties in this matter.


Dated: New York, New York
                                    20t7


UGO UZOH, P.C.                                           ZACHARY W. CARTER
Attorneys for Plaintiffs                                 Corporation Counsel of the
304 Livingston Street, Suite 2R                              City of New York
Brooklyn, New York ll2l7                                 At t orn ey fo r D efen d an ts
                                                         100 Church Street, 3'd Floor
                                                         New             New York I
By:    C lÞ-t'ð                                    By:
      úsosulwu6h                                         Gary Moy
      At t o in ey fo r P I ai n tiffs
                                                         Senior Counsel

                                                         SO ORDERED:




                                                         HON. ERIC N. VITALIANO
                                                         UNITED STATES DISTRICT ruDGE

                                                         Dated:                        20t7




                                                    2
